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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION




  UNITED STATES OF AMERICA,
                                                 CR 18-15-BU-DLC
                       Plaintiff,

        vs.                                       ORDER

  CHRISTOPHER MICHAEL DENNY
  and LISA LYNN BOYD,

                       Defendant.

      The United States having filed an Unopposed Motion to Dismiss Forfeiture

Allegation (Doc. 43) because the subject firearms and ammunition have been

administratively forfeited,

      IT IS ORDERED that the United States' Motion (Doc. 43) is GRANTED.

      IT IS FURTHER ORDERED that the forfeiture allegation contained in the

Indictment (Doc. 1) is DISMISSED.
                  .     ~
      DATED this 21- day ofNovember, 2018.




                                            Dana L. Christensen, Chief Judge
                                            United States District Court



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